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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

MARC IRWIN SHARFMAN M.D.,                  )
P.A., a Florida corporation,               )
individually and as the representative     )
of a class of similarly-situated           )
persons,                                   )
                                           )    Civil Action No:
                     Plaintiff,            )    6:22-cv-01072-RBD-EJK
                                           )
             v.                            )
                                           )
BRAINCHECK, INC.,                          )
                                           )
                      Defendant.           )

                     NOTICE OF SCHEDULED MEDIATION

      Plaintiff, MARC IRWIN SHARFMAN M.D., P.A., hereby advises the court

that a Mediation has been scheduled in this matter with Mediator Judge Gregory

Holder as follows:

            Date:          Friday, April 21, 2023
            Time:          9:00 a.m.
            Location:      Zinobar, Diana & Monteverde, P.A.
                           607 W. Horatio Street
                           Tampa, FL 33606

                                         By: /s/Ryan M. Kelly
                                         Ryan M. Kelly, Esq. – FL Bar: 90110
                                         ANDERSON + WANCA
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                                         rkelly@andersonwanca.com
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                    CERTIFICATE OF SERVICE


I hereby certify that on September 14, 2022, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification
of such filing to all attorneys of record.


                                     s/Ryan M. Kelly
                                     Ryan M. Kelly
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